                       IN THE UNITED STATES BANKRUPTCY COURT
                              FOR THE DISTRICT OF KANSAS

IN RE:                                                    )
                                                          )
 MATRIX ELECTRONIC MEASURING INC.                         )      CASE # 23-21075-7
                                                          )
                        Debtor(s).                        )


                             NOTICE OF RECOVERY OF ASSETS

         COMES NOW, the Chapter 7 Trustee, Darcy D. Williamson, duly appointed in the above

captioned matter and states that the Trustee anticipates the recovery of assets.

         That the Trustee requests the Clerk to set a deadline for the filing of claims of 100 days

from the date of the service of the Notice of Recovery of Assets on creditors and other parties of

interest.

                                               Respectfully submitted:



                                               /s/ Darcy D. Williamson
                                               DARCY D. WILLIAMSON
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